                     Case 1:19-mi-00104-UNA Document 1 Filed 06/20/19 Page 1 of 3

AO 451 (Rev. 12112) Clerk's Certification ofa Judgment to be Registered in Another District                                         FILED IN CLERK'S OFFICE
                                                                                                                                                  U.S.u.c. Aiiailta
                                         UNITED STATES DISTRICT COURT
                                                                            for the                                                          JUN 202019
                                                            Eastern District of New York

                       Gibson-Hawley                                            )
                             Plaintiff                                          )
                                v.                                              )             Civil Action No. 17-CV-4346 (FB)(PK)
                       USA Mgmt. LLC                                            )
                            Defendant                                           )


         CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


          I certify that the attached judgment is a copy of a judgment entered by this court on (date) _~1-,,-OI'-CO--,1. /:. .2:.,. O,. :,.1. . 8::............_

        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer

pending.                                                                                        DOUGLAS C~ Pt\tMi~t.,c
 Date:       JUN 1 7~ '2019                                                                                                      ", , .    ',' 'i
                                                                                                                                     . .-":.. \_. ".F- \
                                                                                              CLERK OF COURT                                                                             .1
                                                                                                                                                                          "        ""
                                                                                                                                         t•. ··                           ,   '>.
                                                                                                                                                        ::'   /,.'
                                                                                                                                                                      •       ", I
                                                                                                                                                                              ",    \.
                                                                                           ~~~~~~~~~~~=---                                                __ ~~__ '
                                                                                                            Signature ofCle~k ~r Deputy Clerk,.
                                                                                                            ,                \,~ {' : ;"'I.('r ! ,. .,:.,'     '.-'




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...., ..:   ..                  Case 1:19-mi-00104-UNA Document 1 Filed 06/20/19 Page 2 of 3
             Case 1:17-cv-04346-FB-PK Document 24 Filed 10/01/18 Page 1 of 2 PagelD #: 163



             UNITED STATES DISTRICT COURT.
             EASTERN DISTRICT OF NEW YORK
             ----------------~-----------------~---------~---------~----){
             TIFFANY GIBSON-HAWLEY,

                                                      Plairitiff,
                           , -against-

             USA MANAGEMENT LLC, JOHN WILLIAMS,
             TROY LEGG, JOHN DOES 1-10, JANE DO
             1-10, and ABC CORPS. 1;'10,    .

                                                  Defendants:
             -----------~----~-----~--------------------------------~----.,-J{
                    .                                                        ,



                                A Memorandum and Order of Honorable Frederic Bloc~, 'United States pistrict Judge,

            . having been. filed on September 28,2018, adopting theReport and Recommendation of

             Magistrate Judge Peggy Kuo, dated September 14,2018, which recommended the following:
                                                                                                 ,             ,


             that default judgment be entered against Defendant Legg, finding him liable for violations under

                                                                                                     .
             the . FLSA and NYLL, and Plaintiff be awarded damages in the total sUIp of$21,324.38 plus

             post-judgment
                ;      .
                           interest,
                                  . comprised
                                      ,  ,.
                                              of: (i) $1,977.80 in unpaid minimum wages;
                                                                                      .
                                                                                         (ii) $30.94 in
                                                                                             "




             unpaid overtime c6mpensation; (iii) $2,000 in statutory 'damages for the NYLL wage notice
                            ..                . . '                                                      ,
                     . .
                            .     .
                                                .
                                                          .
                                                                    .                                    . '           .

             claim; (iv) $5,000 in statutory damages for the NYLL wage statement cJail)l; (v) $2,008.74 in                      I
                                                                                                                                !
             liquidated damages; (vi) $262.50 i,npre-ju'dgment intt';~est, plus $0.50 per day from September'                  .i



             14,2018 to the date of judgment; (vii) $9,525 inattomeys' fees; (viii) $519.40 in costs; (ix) Post-
                 ,   ,                    ,    ' .        .,            ..,   ,r   1'.   I           '       • , .         .
                                                                        .                                          .

             judgment inter~st as proVided in 28 U.S.C. § 1961, to run from the date of judgment until the

            , judgment is satisfied; and th.e Clerk of Court having calculated tre additional pre':judgment

      .. interest at the.rate of $0.50 per day from September 14,2018 to the date ofju'dgment, and the'

            . pre-judgment inter:est being $8.5~; it is




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          Case 1:19-mi-00104-UNA Document 1 Filed 06/20/19 Page 3 of 3
  Case 1:17-cv-04346-FB-PK Document 24 Filed 10101118 Page 2 of 2 PagelD #: 164



          ORDERED and ADJUDGED that judgment is hereby entered in favor of Plaintiff and

  against Defendant Legg in the total amount of $21,332.88, plus post-judgment interest as

.. provided in 28 U.S.C. § 1961, to run from the date of judgment until the judgment is satisfied.

  Dated: Brooklyn, New York                                           Douglas C. Palmer
         October 1, 2018                                              Clerk of Court

                                                               by:    lsi Jalitza Poveda
                                                                      Deputy Clerk




                                                                                                     i'
                                                                                                     "
